Case 2:19-cv-01773-JFW-MAA   Document 535-1   Filed 11/22/24   Page 1 of 30 Page
                                  ID #:8529




       Exhibit A
 Case
    Case
      2:19-cv-01773-JFW-MAA
         2:18-cr-00569-GW Document
                             Document
                                   9 Filed
                                        535-1
                                            09/05/18
                                                Filed 11/22/24
                                                      Page 1 of 29
                                                                 Page
                                                                   Page
                                                                      2 ofID30#:19
                                                                                 Page
                                   ID #:8530



                                                                   'J
     1   NICOLA T . HANNA                                                         n
                                                                                r.r- .......,,
                                                                                ,--,
         United States Attorney
                                                                                       -
                                                                                             (
                                                                                ;::"     I
     2   LAWRENCE S. MIDDLETON                                          ,.. .'
                                                                                ..           C
                                                                                             C/)
         Assistan t United States Attorney                                             =
                                                                                       .     r.t
 3       Chief, Criminal Division                                       ':•            ~
                                                                                             -0
                                                                                                     -1,
                                                                            .                    I

 4
         RUTH C. PINKEL (Cal . Bar No. 164470)-
         LINDSEY GREER DOTSON (Cal. Bar No . 266973)
                                                                        -              ~
                                                                                             Ul

                                                                                             :r--
                                                                                                     r
                                                                                                     r,
         Assistan t United States Attorney s                            r       ~                    c.,
 5       Public Corrupti on and Civil Rights Section                          .....
              1500 United States Courthou se                                ...              Ul
 6            312 North Spring Street                                                        w
                                                                                  ....
              Los Angeles, CA 90012
 7            Telephon e : (213) 894-6077
              E-mail: Ruth . Pinkel@ usdoj.go v
 8
         Attorney s for Plaintif f
 9       UNITED STATES OF AMERICA
10                                UNITED STATES DISTRICT COURT

11                        FOR THE CENTRAL

12       UNITED STATES OF AMERICA,

13                 Plaintif f,                  PLEA AGREEMENT FOR DEFENDANT
                                                THOMAS M. SHEPOS
14                       v.
15       THOMAS M. SHEPOS ,

16                 Defendan t .

17
              1.    This constitu tes the plea agreemen t between THOMAS M.
18
         SHEPOS ("defend ant") and the United States Attorney ' s Office for the
19
         Central o"istrict of Californ ia (the "USAO") in the investig ation of
20
         the above-de scribed matter.     Thi s agreemen t is limited to the USAO
21
         and cannot bind any other federal , state, local, or foreign
22
         prosecut ing, enforcem ent, adminis trative , or regulato ry authorit ies .
23
                                    DEFENDANT'S OBLIGATIONS
24
              2.    Defendan t agrees to :
25
                    a.   Give up the right to indictme nt by a grand jury and,
26
         at the earliest opportun ity requeste d by the USAO and provided by the
27
         Court, appear and plead guilty to a two-coun t informat ion in the form
28
 Case
    Case
      2:19-cv-01773-JFW-MAA
         2:18-cr-00569-GW Document
                             Document
                                   9 Filed
                                        535-1
                                            09/05/18
                                                Filed 11/22/24
                                                      Page 2 of 29
                                                                 Page
                                                                   Page
                                                                      3 ofID30#:20
                                                                                 Page
                                   ID #:8531




 1   attached to this agreement as Exhibit A or a substantially similar

 2   form , which charges defendant with False Statement to Government

 3   Agent in violation of 18 U. S . C. § l00l(a) (2) and Subscribing to False

 4   Tax Return in violation of 26 U.S.C . § 7206(1) .
 5               b.       Not contest facts agreed to in this agreement .

 6               c.       Abide by all agreements regarding sentencing contained

 7   in this agr eement .

 8               d.       Appear for all court appearances , surrender as ordered

 9   for service of sentence, obey all condit i ons of any bond, and obey

10   any other ongoing court order in this matter .

11               e.       Not commit any cri me ; however , offenses that would be

12   excluded for sentencing purposes under United States Sentencing

13   Guidelines ("U . S . S . G. " or "Sentencing Guidelines") § 4Al.2(c) are not

14   within the scope of this agreement .

15               f.       Be truthful at all times with Pretrial Services, the

16   United States Probation Office, and the Court .

17               g.       Pay the applicable special assessments at or before

18   the time of sentencing unless defendant lacks the ability to pay and

19   prior to sentencing submits a completed financial statement on a form

20   to be provided by the USAO .

21               h.       Not seek the discharge of any restitution obligation,

22   in whole or in part , in any present or future bankruptcy proceeding.

23                                 PAYMENT OF TAXES OWED

24         3.    Defendant admits that defendant recei~ed unreported income

25   of $434 , 400 for 20 1 0 to 2016 , which consists of the following amounts

26   for the following years : $25 , 000 (2010); $12 , 000 (2011) ; $12,000

27   (2012) ; $52 , 000 (2013) ; $139,400 (2014) ; and $ 1 02,000 (2015) ; and

28   $92 , 000 (2016) .    Defendant agrees to cooperate with the Internal

                                            2
 Case
    Case
      2:19-cv-01773-JFW-MAA
         2:18-cr-00569-GW Document
                             Document
                                   9 Filed
                                        535-1
                                            09/05/18
                                                Filed 11/22/24
                                                      Page 3 of 29
                                                                 Page
                                                                   Page
                                                                      4 ofID30#:21
                                                                                 Page
                                   ID #:8532




 1   Revenue Service in the determination of defendant's tax liability for

 2   2010 to 2016. Defendant agrees that :

 3                 a.   Defendant will file, prior to the time of sentencing,

 4   amended returns for the year subject to the above admissions,

 5   correctly reporting unreported income; will, if requested to do so by

 6   the Internal Revenue Service, provide the Internal Revenue Servi ce

 7   with information regarding the years covered by the returns; will pay

 8   at or before sentencing all additional taxes and all penalties and

 9   interest assessed by the Internal Revenue Service on the basis of the

10   returns ; and will promptly pay all additional taxes and all penalties

11   and interest thereafter determined by the Internal Revenue Service to

12   be owing as a result of any computational error(s) .

13                 b.   Nothing in this agreement foreclo~es or limits the

14   ability of the Internal Revenue Service to examine and make

15   adjustments· to defendant's returns after they are filed .

16                 c.   Defendant will not, after filing the returns, file any

17   claim for refund of taxes, penalties, or interest for amounts

18   attributable to the returns filed in connection with this plea

19   agreement .

20                 d.   Defendant is liable for the fraud penalty imposed by

21   the Internal Revenue Code, 26 U. S.C. § 6663, on the understatement of

22   tax liability for 2010-2016.

23                 e.   Defendant gives up any and all objections that could

24   be asserted to the Examination Division of the Internal Revenue

25   Service receiving materials or information obtained during the

26   criminal investigation of this matter, including materials and

27   information obtained through grand jury subpoenas .

28
                                           3
 Case
    Case
      2:19-cv-01773-JFW-MAA
         2:18-cr-00569-GW Document
                             Document
                                   9 Filed
                                        535-1
                                            09/05/18
                                                Filed 11/22/24
                                                      Page 4 of 29
                                                                 Page
                                                                   Page
                                                                      5 ofID30#:22
                                                                                 Page
                                   ID #:8533




 1               f.    Defendant will sign closing agreements with the

 2   Internal Revenue Service contemporaneously with the signing of this

 3   plea agreement , permitting the Internal Revenue Service to assess and

 4   collect the total sum of $110 , 021 (consisting of the following

 5   amounts for the following tax years : $3 , 94 1 (2010) ; $1 , 625 (2011) ;

 6   $3 , 325 (2012); $14 , 216 (2013) ; $38 , 972 (2014) ; $26, 019 (2015) ; and

 7   $21 , 923 · (2016)) , which comprises the tax liabilities , as well as

 8   assess and col l ect the civil fraud penalty for each year and

 9   statutory i nterest , on the tax l i ability as provided by law .

10         4.    Defendant further agrees to cooperate ful l y with the USAO ,

11   the Federal Bureau of Investigation, Internal Revenue Service, and,

12   as directed by the USAO , any other federa l, state , local , or foreign

13   prosecuti ng , enforcement , administrative , or regul atory authority.

14   This cooperation requires defendant to :
15              a.    Respond truthfully and completely to. all quest i ons

16   that may be put to defendant , whether in interviews , before a grand

17   j ury, or at any trial or other court proceeding .
18              b.    Attend all meetings , grand j u ry sessions , trials or

19   other proceedi ngs at which defendant ' s presence is requested by the

20   USAO or compelled by subpoena or cou rt order .
21              c.    Produce voluntarily all documents , records , or other

22   tangi ble evidence relating to matters about which the USAO , or its

23   designee, i n quires .

24        5.    For p u rposes of this agreement : ( 1) " Cooperation

25   I nformation" sha l l mean any statements made , or documents , records ,

26   tangible evidence , or other information provided, by defendant

27   pursuant to defendant ' s cooperation under this agreement or pursuant

28   to the letter agreement previously ent ered into by the parties dated

                                           4
 Case
    Case
      2:19-cv-01773-JFW-MAA
         2:18-cr-00569-GW Document
                             Document
                                   9 Filed
                                        535-1
                                            09/05/18
                                                Filed 11/22/24
                                                      Page 5 of 29
                                                                 Page
                                                                   Page
                                                                      6 ofID30#:23
                                                                                 Page
                                   ID #:8534




 1   December 16, 2016 (the "Letter Agreement"); and (2) "Plea
 2   Information" shall m~an any statements made by defendant, under oath,

 3   at the guilty plea hearing and the agreed to factual basis statement

 4   in this agreement.

 5                               THE USAO ' S OBLIGATIONS

 6         6.    The USAO agrees to :

 7               a.    Not contest facts agreed to in this agreement.

 8               b.    Abide by all agreements regarding sentencing contained

 9   in this agreement .
10               c.    At the time of sentencing, provided that defendant

11   demonstrates an acceptance of responsibility for the offenses up to

12   and including the time of sentencing, recommend a two-level reduction

13   in the applicable Sentencing Guidelines offense level, pursuant to

14   Q.S.S . G. § 3El . l, and recommend and, if necessary, move for an

15   additional one-level reduction if available under that section.

16              d.    With respect to Counts One and Two, recommend that

17   defendant be sentenced to a term of imprisonment no higher than the

18   low end of the applicable Sentencing Guidelines range .

19        7.    The USAO further agrees:

20              a.    Not to offer as evidence in its case-in-chief in the

21   above-captioned case or any other criminal prosecution that may be

22   brought against defendant by the USAO , or in connection with any

23   sentencing proceeding in any criminal case that may be brought
24   against defendant by the USAO, any Cooperation Information.

25   Defendant agrees, however, that ·the USAO may_use both Cooperation

26   Information and Plea Information : (1) to obtain and pursue leads to

27   other evidence, which evidence may be used for any purpose, including

28   any criminal prosecution of def~ndant;        (2) to cross-examine defendant

                                           5
 Case
    Case
      2:19-cv-01773-JFW-MAA
         2:18-cr-00569-GW Document
                             Document
                                   9 Filed
                                        535-1
                                            09/05/18
                                                Filed 11/22/24
                                                      Page 6 of 29
                                                                 Page
                                                                   Page
                                                                      7 ofID30#:24
                                                                                 Page
                                   ID #:8535




  1   should defendant testify, or to rebut any evidence offered, or

  2   argument or representation made , by defen dant , defendant ' s counsel ,

  3   or a witness called by defendant in any t rial , sentencing hearing , or

  4   other court proceeding; and (3) in any cri minal prosecution of

 5    defendant for fal se statement, obst ruction of justice, or perj ury .

  6              b.    Not to use Cooperati on Information against defendant

 7    at sentencing for the purpose of determi n i ng the applicable guidel i ne

 8    range , including the appropri ateness of an upward departure , or the

 9    sentence to be imposed , and to recommend to the Court that

10    Cooperation Information not be used in determining the applicable

1·1   guideline rang e or t he sentence to be imposed .       Defendant

12    understands , however, that Cooperation Information will be disclosed

13    to the probation office and the Court, and that the Court may use

14    Cooperation Informati on for t he p u rposes set forth in U. S . S . G

15    § 1Bl . 8 (b) and for determini ng the sentence to be imposed.

16               c.    In connection with defendant ' s sentencing, to bring to

17    the Court ' s attention the nature and extent of defendant ' s

18    cooperation .

19               d.    If the USAO determi nes , in its excl usive judgment ,

20    that defendant has both complied with defendant ' s ob l igations under

21    paragraphs 2 and 3 above and provided substantial assistance to law

22    enforcement in the prosecution or investigation of another

23    ("substantial ass i stance") , to move the Court pursuant to U. S . S . G. §

24    5Kl . l to fix an offense level and corresponding guideline range below

25    that otherwise dictated by the sentencing guidelines , and to

26    recommend a term of imprisonment within this reduced range .

27                DEFENDANT ' S UNDERSTANDINGS REGARDING COOPERATION

28         8.    Defendant understands the following :

                                           6
 Case
    Case
      2:19-cv-01773-JFW-MAA
         2:18-cr-00569-GW Document
                             Document
                                   9 Filed
                                        535-1
                                            09/05/18
                                                Filed 11/22/24
                                                      Page 7 of 29
                                                                 Page
                                                                   Page
                                                                      8 ofID30#:25
                                                                                 Page
                                   ID #:8536




 1               a.   Any knowingly false or misleading statement by

 2   defendant will subject defendant to prosecution for false statement,

 3   obstruction of justice, and perjury and will constitute a breach by

 4   defendant of this agreement .

 5              b.    Nothing in this agreement requires the USAO or any

 6   other prosecuting, enforcement, administrative, or regulatory

 7   authority to accept any cooperation or assistance that defendant may

 8   offer, or to use it in any particular way.

 9              c.    Defendant cannot withdraw defendant's guilty pleas if

10   the OSAO does not make a motion pursuant to O.S.S.G . § 5Kl . 1 for a

11   reduced guideline range or if the USAO makes such a motion and the

12   Court does not grant it or if the Court grants such a OSAO motion but

13   elects to sentence above the reduced range .

14              d.    At this time the OSAO makes no agreement or

15   representation as to whether any cooperation that defendant has

16   provided or intends to provide constitutes or will constitute

17   substantial assistance .     The decision whether defendant has provided

18   substantial assistance will rest solely within the exclusive judgment

19   of the USAO.

20              e.    The -USAO's· determination whether defendant has

21   provided substantial assistance will not depend in any way on whether

22   the government prevails at any trial or court hearing in which

23   defendant testifies or in which the government otherwise presents

24   information resulting from defendant's cooperation.           That is, whether

25   any other co-conspirator is found guilty or not guilty will have no

26   impact on what benefit, if any, defendant receives from the USAO .

27   The USAO's determination will depend only on whether defendant

28   provides truthful testimony.

                                           7
 Case
    Case
      2:19-cv-01773-JFW-MAA
         2:18-cr-00569-GW Document
                             Document
                                   9 Filed
                                        535-1
                                            09/05/18
                                                Filed 11/22/24
                                                      Page 8 of 29
                                                                 Page
                                                                   Page
                                                                      9 ofID30#:26
                                                                                 Page
                                   ID #:8537




 1                               NATURE OF THE OFFENSES

 2         9.      Defendant understands that for defendant to be guilty of

 3   the crime charged in Count One , that is , False Statement to

 4   Government Agent , in violation of Title 18, United States Code,
 5   Section l00l(a) (2), the following must be true : (a) first, defendant

 6   made a false statement in a matter within the jurisdiction of the

 7   Federal Bureau of Investigation ("FBI");         (b) second, defendant acted

 8   willfully ; that is, defendant acted deliberately and with knowledge
 9   both that the statement was untrue and that his conduct was unlawful;

10   and (c) third, the statement was material to the activities or

11   decisions of the FBI; that i s, it had a natural tendency to

12   influence, or was capable of influencing, the agency's decisions or

13   activities .

14        10 .     Defendant understands that for defendant to be guilty of

15   the crime charged in Count Two, that is, Subscribing to False Tax

16   Return, in violation of Tit l e 26, United States Code, Section

17   7206(1), the following must be true : . (1) defendant signed and filed a
18   tax return for the year 2014 that he knew contained false information

19   as to a material matter;     (2) the return contained a written
20   declaration that it was being signed subject . to the penalties of

21   perjury; and (3) in fi~ing the false tax return, defendant acted

22   willfully .    A matter is material if it had a natural tendency to

23   influence, or was capable of influencing, the decisions or activities

24   of the Internal Revenue Service .         A defendant acts willfully when

25   defendant knows that federal tax law imposed a duty on defendant and

26   defendant intentionally and voluntarily v i olated that duty.

27

28
                                           8
CaseCase
     2:19-cv-01773-JFW-MAA
         2:18-cr-00569-GW Document
                             Document
                                   9 Filed
                                       535-109/05/18
                                                Filed 11/22/24
                                                       Page 9 of 29
                                                                 Page
                                                                    Page
                                                                      10 of
                                                                          ID30
                                                                             #:27Page
                                   ID #:8538




 1                             PENALTIES AND RESTITUTION

 2        11 .   Defendant understands that the statutory maximum sentence

 3   that the Court can impose for a violation of Title 18, United States

 4   Code, Section 1001 , is: 5 years imprisonment; a 3 year period of
 5   supervised release ; a fine of $250,000 or twice the gross gain or

 6   gross loss resulting from the offense, whichever is greatest; and a

 7   mandatory special assessment of $100 .

 8        12.    Defendant understands that the statutory maximum sentence
 9   that the Court can impose for a violation of Title 26, United States

10   Code, Section 7206(1), is : 3 years imprisonment; a 1 year period of

11   supervised release; a fine of $250,000 or twice the gross gain or

12   gross loss resulting from the offense , whichever is greatest ; and a

13   mandatory special assessment of $100 .

14        13 .   Defendant understands, therefore, that the total maximum

15   sentence for all offenses to which defendant is pleading guilty is :

16   8 years imprisonment ; a 3 year period of supervised release; a fine

17   of $500,000; and a mandatory special assessment of $200 .

18        14 .   Defendant understands and agrees that the Court : (a) may

19   order defendant to pay restitution in the form of any additional

20   taxes , interest, and penalties that defendant owes to the United

21   States based upon the count of conviction and any relevant conduct,

22   and ; and (b) must order defendant to pay the costs of prosecution,

23   which may be in addition to the statutory maximum fine stated above .

24        15 .   Defendant understands that, by pleading guilty, defendant

25   may be giving up valuable government benefits and valuable civic

26   rights, such as the right to vote, the right to possess a firearm ,

27   the right to hold office, and the right to serve on a jury .
28   Defendant understands that once the court accepts defendant's guilty

                                          9
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 10 of Page
                                                               29 Page
                                                                    11 ofID30#:28
                                                                                Page
                                  ID #:8539




 1   pleas, it will be a federal felony for defendant to possess a firearm

 2   or ammunition .   Defendant understands that the convictions in this

 3   case may also subject defendant to various other collateral

 4   consequences, including but not limited to revocation of probation,

 5   parole, or supervised release in another case and suspension or

 6   revocation of a professional license.        Defendant understands that

 7   unanticipated collateral consequences will not serve as grounds to

 8   withdraw defendant's guilty pleas.

 9        16 .   Defendant understands that, if defendant is not a United

10   States citizen, the felony convictions in this case may subject

11   defendant to: removal, also known as deportation, which may , under

12   some circumstances, be mandatory; denial of citizenship; and denial

13   of admission to the United States in the future .         The court cannot,

14   and defendant's attorney also may not be able to, advise defendant

15   fully regarding the immigration consequences of the felony

16   convictions in this case .     Defendant understands that unexpected

17   immigration consequences will not serve as grounds to withdraw

18   defendant's guilty pleas .
19        17.    Defendant understands that supervised release is a period

20   of time following imprisonment during which defendant will be subject

21   to various restrictions and requirements.        Defendant understands that

22   if defendant violates one or more of the conditions of any supervised

23   release imposed, defendant may be returned to prison for all or part

24   of the term of supervised release authorized by statute for the

25   offense that resulted in the term of supervised release , which could

26   result in defendant serving a total term of imprisonment greater than

27   the statutory maximum stated above .

28
                                         10
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 11 of Page
                                                               29 Page
                                                                    12 ofID30#:29
                                                                                Page
                                  ID #:8540




 1                                   FACTUAL BASIS

 2        18 .   Defendant admits that defendant is, in fact, guilty of the

 3   offenses to which defendant is agreeing to plead guilty .          Defendant

 4   and the USAO agree to the statement of facts provided below and agree

 5   that this statement of facts is sufficient to support pleas of guilty

 6   to the charges described in this agreement a~d to establish the
 7   Sentencing Guidelines factors set forth in paragraph 20 below but is

 8   not meant to be a complete recitation of all facts relevant to the

 9   underlying criminal conduct or all facts known to either party that

10   relate to that conduct.

11        Background
12        From approximately 1998 to 2017, defendant was a public. official

13   employed by the County of Los Angeles ("County") in the Real Estate

14   Division.   Defendant's duties involved negotiating leases between

15   private building and property owners and various County departments.

16   Defendant was also able to request and receive proposals from private

17   real estate developers who wanted to lease their buildings to County

18   departments.   Once a property was identified for a County department

19   in need of space, defendant was able to negotiate lease terms and

20   draft lease agreements for the County and private property owners, or

21   direct others to do so .    Based on defendant's level of seniority,

22   defendant had significant autonomy to contractually bind the County .

23   In particular, defendant had authority to negotiate contract terms on

24   behalf of the county, although final _ contract approval lay with the

25   Board of Supervisors, and defendant had authority to approve, with

26   others, change orders on contracts.       Furthermore, in defendant's

27   capacity as a public official employed by the County, defendant owed

28   a fiduciary duty to the citizens of the County and to defendant's

                                          11
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 12 of Page
                                                               29 Page
                                                                    13 ofID30#:30
                                                                                Page
                                  ID #:8541




 1   employer to perform the duties and responsibili ties of defendant ' s

 2   office free from bias , conflicts of interest, self-enri chment , self-

 3   dealing , concealment, deceit , fraud , kickbacks, and bribery .
 4          The United States government provides federal assistance to

 5   various County departments , including the Department of Public Social

 6   Services ("DPSS" ) , every year - - a portion of which is used to cover
 7   some of the County departments ' lease expenses .        The aggregate amount

 8   of federal funding received by those County departments exceeds

 9   $10 , 000 per year .

10          The Arman Gabaee Bribery Scheme
11          Arman Gabaee, also known as " Arman Gabay" (" Gabaee" ), ~as a real

12   estate developer who conducted business with the County . He was the

13   co-managi ng partner and co-founder of the Charles Company, a real
14   estate devel opment f i rm that devel oped and maintained commercial and

15   residential real estate projects .        Gabaee was also a partner of the

16   California limited partnership M&A Gabaee, among other entities . .
17          Sometime between 2000 and 2005 , Gabaee began to seek improper

18   assistance from defendant in t he course of conducting his (Gabaee ' s)

19   real estate business with the Cou nty .      During this time, -Gabaee had a

20   lease pending approval before the County Board of Supe~vi sors (the

21   " Board~' ) .   The l ease called for DPSS to occupy a portion of the

22   Hawthorne Mall , which Gabaee owned .      The Board ultimately voted to

23   approve the l ease , but the approval came over a year after it was

24   initially presented to the Board .        Defendant believed that the delay

25   on the DPSS Hawthorne Mall lease served as the catal yst for Gabaee

26   seeking influence and non- public County information about County

27   leases from defendant .      Gabaee did not compensate defendant for

28   assistance and non-public County information at this time .
                                          12
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 13 of Page
                                                               29 Page
                                                                    14 ofID30#:31
                                                                                Page
                                  ID #:8542




 1        In approximately 2010 or 2011, Gabaee began giving cash payments

 2   to defendant.    Initially, the amounts were $5,000 per month for
 3   approximately five to six months .       After that point, to on or about

 4   April 11 , 2017, Gabaee gave defendant monthly cash payments of

 5   approximately $1,000.    -The relationship between defendant and Gabaee

 6   changed shortly after defendant began accepting these monthly

 7   payments in 2010 or 2011.      Specifically, their relationship
 8   transformed to an illegal business relationship, wherein defendant

 9   would use his County position to provide assistance to Gabaee and

10   financially benefit Gabaee ' s businesses in return for Gabaee's

11   monthly payments .
12        The assistance that defendant provided to Gabaee in return for

13   the $1,000 monthly payments included the following:         {a) defendant

14   providing non-publi~ County information to Gabaee, including but not

15   limited to , information about the County's leasing needs and

16   competing bids for leases Gabaee desired;       {b) defendant giving added

17   attention to, and performing official acts for , Gabaee with regard to

18   Gabaee ' s existing and potential leases with the County; and (c)

19   defendant resolving issues between Gabaee and various County
20   departments leasing space from Gabaee where issues have arisen within

21   the occupied properties and resolving those issues on terms that were

22   favorable to Gabaee.
23        For instance, on one occasion in 2011, defendant "ran

24   interference" for Gabaee with regard to maintenance issues that had

25   arisen in properties Gabaee was leasing to the County .         The County

26   departments leasing space in the properties owned by Gabaee were

27   upset with maintenance issues, such as broken elevators and roof

28   leaks.   Gabaee relied heavily on defendant to address the issues with

                                         13
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 14 of Page
                                                               29 Page
                                                                    15 ofID30#:32
                                                                                Page
                                  ID #:8543




 1   the departments by improperly deflecting blame away from Gabaee and

 2   onto independent contractors, and by allowing Gabaee more time to

 3   resolve issues.
 4         In addition, prior to defendant ' s cooperation with the FBI

 5    (which began on or about December - 16, 2016), Gabaee had offered to

 6   buy a property in Northern Californi a for defendant as a bribe .          The

 7   value of the properties Gabaee sought to purchase as a bribe for

 8   defendant exceeded $1,000,000.       In exchange for the Northern

 9   California property bribe, Gabaee sought defendant ' s assistance
10   securing a County lease for Gabaee, whereby DPSS would lease space in

11   the Hawthorne Mall, which Gabaee owned and was redeveloping .

12         The Electrical Contractor Bribery Scheme

13         In addition to bribes from Gabaee, defendant also accepted

14   bribes from an electrical contractor doing business with the County

15   (the "Electrical Contractor") .     The Electrical Contractor made

16   payments to defendant in exchange for defendant providing non-public

17   County information to the Electrical Contractor and helping the

18   Electrical Contractor secure County contracts.

19         The illicit ~ature of their relationship began in approximately

20   August 2013 when the Electrical Contractor offered defendant $25,000

21   to $40,000 for information that would help the Electrical Contractor

22   win a bid to perform electrical work on a property leased by the

23   County .   The Electrical Contractor's work included wiring speakers

24   and installing alarms and security systems.
25         In exchange for the cash payments, defendant would obtain non-

26   public information from the County's Internal Services Department

27   ("ISO") about whether the County had received bids in response to a

28   County Request for Proposal ("RFP") .      The RFP process was the means

                                         14
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 15 of Page
                                                               29 Page
                                                                    16 ofID30#:33
                                                                                Page
                                  ID #:8544




 1   by which competing contractors submitted bids to the County to

 2   perform work on County properties .·     Defendant would then disclose
 3   that non- public information to the El ectrical Contractor, and/or tell

 4   the Electrical Contractor prior winning bids on simil ar projects, so

 5   that the Electrical Contractor could submit a more competitive bid to

 6   the County through the RFP process .      Defendant did this to help the

 7   Electrical Contractor obtain the County contract.          In other
 8   instances, when either there were no other qualifying bids submitted

 9   or time constraints precluded a formal RFP, defendant would contact

10   ISD and use the influence of his County position to help the

11   Electrical Contractor obtain the County contract .
12         The Electrical Contractor always paid defendant in cash two to

13   three times per year , usually in an envelope containing $50 or $100

14   bills.     From approximately 2013 through December 2016, the Electrical

15   Contractor gave defendant a total of $250 , 000 to $300,000 for

16   defendant's assistance with five to seven County contracts ultimately

17   awarded to the Electrical Contractor .       Defendant did not report these

18   bribe payments as income or as anything else .

19         The Kickback Schemes

20        On several occasions, defendant arranged to receive improper

21   kickbacks from real estate commissions on properties leased by the

22   County .   Defendant received Form 1099s for theses commissions, which

23   totaled approximately $59,200 for 2012 , 2014 and 2016, and reported

24   it as income on his individual tax returns .
25         In another instance, approximately in 2013, defendant arranged

26   with as associate of Gabaee's to receive, and did receive, a real

27   estate commission kickback of $35,000, ~hrough a third party, for the

28
                                         15
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 16 of Page
                                                               29 Page
                                                                    17 ofID30#:34
                                                                                Page
                                  ID #:8545




 1   County' s lease of a property on Missouri Avenue in West Los Angeles ,

 2   but did not pay income taxes on his receipt of these funds .

 3         Other Unreported Income

 4         Defendant gave some of the cash defendant received from the

 5   Electrical Contractor to Individual A to store for him (defendant).
 6   On one occasion, defendant gave Individual A approximately $150,000

 7   to store .     On another occasion, defendant gave Individual A

 8   approximately $25,000 to $40,000 to store.         Individual A eventually

 9   used the funds to cash checks for the Electrical Contractor and gave

10   defendant $2 , 500 in interest .    Defendant did not report the $2 , 500 as

11   income .
12         False Statements to Federal Agents

13         On or about November 21 , 2016, FBI Special Agents interviewed

14   defendant at the United States Attorney ' s Office in Los Angeles .
15   Defendant knowingly and willfully made materially false, fictitious,

16   and fraudu l ent st~tements and representations to the agents , which

17   included the following : (a) defendant denied that he received

18   anything of value from anyone doing business with the County; and (b)

19   defendant claimed that a $25,000 cashier' s check agents questioned

20   him about represented gambling proceeds that defendant had won in

21   prior years , a nd (c) claimed that unexplained deposits in his bank

22   accounts were gambling proceeds .
23         In truth , as detaile~ above, defendant did receive money and

24   other things of value from individuals doing business with the

25   County .     Furthermore, the $25 , 000 cashier's check actually

26   represented bribe proceeds from the Electrical Contractor that
27   Individual A had stored for defendant , and defendant did deposit cash

28   bribe payments from Gabaee and others into his bank accounts.
                                          16
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 17 of Page
                                                               29 Page
                                                                    18 ofID30#:35
                                                                                Page
                                  ID #:8546




 1         Defendant made the aforementioned fa l se statements to conceal

 2   his illegal bribery ·schemes with Gabaee and others .        Defendant' s

 3   false statements were material , that is , they had a tendency to
 4   influence the FBI ' s investigation and affected the FBI ' s ability to

 5   properly investigate the illegal activity of defendant and others.

 6         False Statements on Tax Return

 7         On or about April 14 , 2015, in Los Angeles County, wi thin the

 8   Central District of California, defendant willfully made and
 9   subscribed to a materially false United States Individual Income Tax

10   Return , Form 1040, for the calendar year 2014, which defendant

11   veri f i ed by a written declaration that it was made under penalty of

12   perjury, and filed such tax return with the Internal Revenue Service,

13   which defendant did not believe to be true and correct as to every
14   material matter in that it failed to report the additional income for

15   20 1 4 described h erein .   Specifically , the tax return reported total

16   income of $109 , 274 and failed to disclose additional i ncome of

17   $139,400 .
18        The false information provided by defendant was material in that

19   it affected the IRS ' s calculation of the amou nt of income earned and

20   prevented the IRS from verifying the accuracy of the amount of tax
21   claimed to be owed on defendant's return .       Defendant acted willfully .

22   Defendant knew that the law required him to report a ll income

23   accurately and to pay all income tax that was due and owing .

24   Defendant voluntarily and intentionally violated that duty .

25        Tax Due and Owing on Unreported Income

26        For cal endar years 2010 to 201 6 , defendant failed to report a

27   total of $434 , 400 of income he received from the bribery and/or

28   kickback payments described above , which consists of the following

                                          17
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 18 of Page
                                                               29 Page
                                                                    19 ofID30#:36
                                                                                Page
                                  ID #:8547




 1   amounts for the following years: $25,000 (2010); $12,000 (2011) ;

 2   $12,000 (2012); $52,000 (2013); $139,400 (2014); and $102,000 (2015);

 3   and $92,000 (2016).     Defendant's unreported income for 2014 included

 4   approximately $102,000 in br~be payments.

 5         Defendant's underreporting of income resulted in lowering the

 6   taxes reported as due and owing on his Form 1040 individual tax

 7   returns.    As a result of defendant's conduct, defendant owes

 8   additional taxes totaling $110,021 consisting of the following

 9   amounts for the following tax years : $3,941 (2010); $1,625 (2011);

10   $3,325 (2012); $14,216 (2013); $38,972 (2014) ; $26,019 (2015); and

11   $21,923 (2016).

12                                SENTENCING FACTORS

13        19 .   Defendant understands that in determining defendant's

14   sentence the Court is required to calculate the applicable Sentencing

15   Guidelines range and to consider that range, possible departures

16   under the Sentencing Guidelines, and the other sentencing factors set

17   forth in 18 U.S.C . § 3553(a).     Defendant understands that the

18   Sentencing Guidelines are advisory only, that defendant cannot have

19   any expectation of receiving a sentence within the calculated

20   Sentencing Guidelines range, and that after considering the

21   Sentencing Guidelines and the other§ 3553(a) factors, the Court will

22   be ' free to exercise its discretion to impose any sentence it finds

23   appropriate up to the maximum set by statute for the crime of

24   conviction .

25   II
26   II
27

28
                                          18
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 19 of Page
                                                               29 Page
                                                                    20 ofID30#:37
                                                                                Page
                                  ID #:8548




 1            20 .      Defendant and the USAO agree to the fol lowing applicable

 2   Sentencing Guidelines factors :

 3           Count One (False Statements)

 4        Base Offense Level :                                   6   [U.S . S . G. § 2Bl.l(a) (2)]

 5

 6           Count Two (Subscribing to False Tax Return)
 7        Base Offense Level :                                  16    [U . S . S . G. § 2Tl.l(a) (1)
          [$110,021 Tax Loss]                                                       and§ 2T_4 . l(F)]
 8

 9
         Specific Offense
         Characteristics:  [Failure to
10       Report Income Over $10,000
         from Criminal Activity ]                               +2    [U.S.S.G. §2Tl.l(b) (1 ))
11
12
         Multi Count Adjustment:                                +0      [U . S.S . G. § 301.1,
13                                                                       301.3, 301.4]
14
     Defendant and the USAO reserve the right to argue that _additional
15
     specific offense characteristics, adjustments , and departures under
16
     the Sentencing Guidelines are appropriate .
17
             21 .      Defendant understands that there is no agreement as to
18
     defendant's criminal history or criminal history category .
19
             22 .      Defendant and the USAO reserve the right to argue for a
20
     sentence outside the sentencing range established by the Sentencing
21
     Guidelines based on the factors set forth in 18 U. S . C . § 3553(a) (1) ,
22
     (a) ( 2 ) ,     (a) ( 3) ,    (a) ( 6) , and (a) ( 7 ) .
23
                                       WAIVER OF CONSTITUTIONAL RIGHTS
24
             23 .      Defendant understands that by pleading guilty, defendant
25
     gives up the following rights :
26
                       a.         The right to pers i st in a plea of not guilty .
27
                       b.         The right to a speedy and public trial by jury.
28
                                                         19
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 20 of Page
                                                               29 Page
                                                                    21 ofID30#:38
                                                                                Page
                                  ID #:8549




 1              c.     The right to be represented by counsel - and if

 2   necessary have the court appoint counsel - at trial .         Defendant

 3   understands, however, that, defendant retains the right to be

 4   represented by counsel - and if necessary have the court appoint

 5   counsel - at every other stage of the proceeding .

 6              d.     The right to be presumed innocent and to have the

 7   burden of proof placed on the government to prove defendant guilty

 8   beyond a reasonable doubt .

 9              e.    The right to confront and cross-examine witnesses

10   against defendant .

11              f.    The right to testify and to present evidence in

12   opposition to the charges, including the right to compel the

13   attendance of witnesses to testify.

14              g.    The right not tq be compelled to testify, and, if

15   defendant chose not to testify or present evidence, to have that

16   choice not be used against defendant.

17              h.    Any and all rights to pursue any affirmative defenses,

18   Fourth Amendment or Fifth Amendment claims, and other pretrial

19   motions that have been filed or could be filed .

20                         WAIVER OF APPEAL OF CONVICTION

21        24.   Defendant understands that, with the exception of an appeal

22   based on a claim that defendant ' s guilty plea was involuntary, by

23   pleading guilty defendant is waiving and giving up any right to

24   appeal defendant's convictions on the offenses to which defendant is

25   pleading guilty .
26                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

27        25.   Defendant agrees that, provided the Court imposes a total

28   term of imprisonment on all counts of conviction of no more than 33

                                         20
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 21 of Page
                                                               29 Page
                                                                    22 ofID30#:39
                                                                                Page
                                  ID #:8550




 1   months, defendant gives up the right to appeal all of the following :

 2   (a) the procedures and calculations used to determine and impose any

 3   portion of the sentence;        (b) the term of imprisonment imposed by the

 4   Court;        (c) the fine imposed by the court, provided it is within the
 5   statutory maximum;       (d) the amount and terms of any restitution order,

 6   provided it requires payment of no more than $110,021;          (e) ~he term

 7   of probation or supervised release imposed by the Court, provided it

 8   is within the statutory maximum; and (f) any of the following
 9   conditions of probation or supervised release imposed by the Court:

10   the conditions set forth in General Orders 318 , 01 - 05, and/or 05-02

11   of this Court; the drug testing conditions ·mandated by 18 U.S.C.

12   §§   3563 (a) (5) and 3583 (d) .
13          26.      The USAO agrees that, provided (a) all portions of the

14   sentence are at or below the statutory maximum specified above and

15   (b) the Court imposes a term of imprisonment of no less than 27

16   months, the USAO gives up its right to appeal any portion of the

17   sentence, with the exception that the USAO reserves the right to
18   appeal the following:       (a) the amount of restitution ordered if that

19   amount is less than $110,021.

20                          RESULT OF WITHDRAWAL OF GUILTY PLEA

21          27 .     Defendant agrees that if, after entering guilty pleas

22   pursuant to this agreement, defendant seeks to withdraw and succeeds

23   in withdrawing defendant ' s guilty pleas on any basis other than a

24   claim and finding that entry into this plea agreement was

25   involuntary, then (1) the USAO will be relieved of all of its

26   obligations under this agreement;          (2) in any investigation, criminal

27   prosecution, o~ civil, administrative, or regulatory action,

28   defendant agrees that any Cooperation Information and any evidence

                                           21
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 22 of Page
                                                               29 Page
                                                                    23 ofID30#:40
                                                                                Page
                                  ID #:8551




 1   derived from any Cooperation Information shall be admissible against

 2   defendant, and defendant will not assert, and hereby waives and gives

 3   up, any claim under the United States Constitution, any statute, or

 4   any federal rule, that any Cooperation Information or any evidence

 5   derived from any Cooperation Information should be suppressed or is

 6   inadmissible; and (3) should the USAO choose to pursue any charge

 7   that was either dismissed or not filed as a result of this agreement,

 8   then (i) any applicable statute of limitations will be tolled between

 9   the date of defendant's signing of this agreement and the filing

10   commencing any such action; and (ii) defendant waives and gives up

11   all defenses based on the statute of limitations, any claim of pre -
12   indictment delay, or any speedy trial claim with respect to any such

13   action, except to the extent that such defenses existed as of the

14   date of defendant's signing this agreement.
15                           EFFECTIVE DATE OF AGREEMENT

16        28 .   This agreement is effective upon signature and execution of

17   all required certifications by defendant, defendant's counsel, and an

18   Assistant United States Attorney .
19                               BREACH OF AGREEMENT

20        29.    Defendant agrees that if defendant, at any time after the

21   signature of this agreement and execution of all required

22   certifications by defendant, defendant's counsel, and an Assistant

23   United States Attorney, knowingly violates or fails to perform any of

24   defendant's obligations under this agreement ("a breach"), the USAO

25   may declare this agreement breached .      For example, if defendant

26   knowingly, in an interview, before a grand jury, or at trial, false l y

27   accuses another person of criminal conduct or falsely minimizes

28   defendant's own role, or the role of another, in criminal conduct,
                                         22 •
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 23 of Page
                                                               29 Page
                                                                    24 ofID30#:41
                                                                                Page
                                  ID #:8552




 1   defendant will hav·e breached this agreement.        All of defendant's

 2   obligations are material, a single breach of this agreement is

 3   sufficient for the USAO to declare a breach, and defendant shall not

 4   be deemed to have cured a breach without the express agreement of the
 5   USAO in writing .     If the USAO declares this agreement breached, and

 6   the Court finds such a breach to have occurred, then :
 7              a.    If defendant has previously entered guilty pleas

 8   pursuant to this agreement , defendant will not be able to withdraw

 9   the guilty pleas .
10              b.    The USAO will be relieved of all its obligations ·under

11   this agreement; in particular, the USAO:       (i) will no longer be bound

12   by any agreements concerning sentencing and will be free to seek any

13   sentence up to the statutory maximum for the crimes to which

14   defendant has pleaded guilty; and (ii) will no longer be bound by any
15   agreement regarding the use of Cooperation Information and will be

16   free to use any Cooperation Information in any way in any
17   investigation, criminal prosecution, or civil, administrative, or

18   regulatory action .

19              C.    The USAO will be free to criminally prosecute

20   defendant for false statement, obstruction of justice, and perjury

21   based on any knowingly false or misleading statement by defendant .
22              d.    In any investigation, criminal prosecution, or civil,

23   administrative, or regulatory action : (i) defendant will not assert,

24   and hereby waives and gives up , any claim that any Cooperation

25   Information was obtained in violation of the Fifth Amendment

26   privilege against compelled self-incrimination; and (ii) defendant

27   agrees that any Cooperation Information and any Plea Information, as

28   well as any evidence derived from any Cooperation Information or any

                                         23
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 24 of Page
                                                               29 Page
                                                                    25 ofID30#:42
                                                                                Page
                                  ID #:8553




 1   Plea Information, shall be admissible against defendant, and

 2   defendant will not assert, and hereby waives and gives up, any claim

 3   under the United States Constitution, any statute, Rule 410 of the

 4   Federal Rules of Evidence, Rule ll(f) · of the Federal Rules of

 5   Criminal Procedure, or any other federal rule, that any Cooperation

 6   Information, any Plea Information, or any evidence derived from any

 7   Cooperation Information or any Plea Information should be suppressed

 8   or is inadmissible.

 9                       COURT AND ~ROBATION OFFICE NOT PARTIES

10           30 .   Defendant understands that the Court and the United States

11   Probation Office are not parties to this agreement and need not
12   accept any of the USAO ' s sentencing recommendations or the parties'

13   agreements to facts or sentencing factors .
14           31 .   Defendant understands that both defendant and the USAO are

15   free to: (a) supplement the facts by supplying relevant information
16   to the United States Probation Office and the Court,         (b) correct any

17   and all factual misstatements relating to the Court's Sentencing

18   Guidelines calculations and determination of sentence, and (c) argue

19   on appeal and collateral review that the Court's Sentencing

20   Guidelines calculations and the sentence it chooses to impose are not

21   error, although each party agrees to maintain its view that the

22   calculations in paragraph 20 are consistent with the facts of this

23   case.     This paragraph permits both the USAO and defendant to submit
24   full and complete factual information to the United States Probation

25   Office and the Court, even if that factual information may be viewed

26   as inconsistent with the Factual Basis or Sentencing Factors agreed

27   to in this agreement .

28
                                          24
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 25 of Page
                                                               29 Page
                                                                    26 ofID30#:43
                                                                                Page
                                  ID #:8554




 1        32 .   Defendant understands that even if the Court ignores any

 2   sentencing recommendation, finds facts or reaches concl usions
 3   different from those agreed to , and/or imposes any sentence up to the

 4   maximum establ i shed by statute , defendant cann ot , for that reason,

 5   withdraw defendant ' s guilty pleas , and defendant will remain bound to

 6   fulfil l all defendant ' s obligations under this agreement .       Defendant

 7   understands that no one - not the prosecu tor , defendant ' s attorney,

 8   or the Court - can make a binding prediction or promise regarding the

 9   sentence defendant .will receive , except that it will be within the

10   statutory maxi mum.

11                             NO ADDITIONAL AGREEMENTS

12        33 .   Defendant understands that, except as set f orth herein,

13   there are no promises , understandings , or agreements between the USAO

14   and defendant or defendant ' s attorney , and that no addi t i onal

15   promise , understanding , or agreement may be entered into unless in a

16   writing signed by all parties or on the record in court .
17                PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

18        34 .   The parties agree that th i s agreement wi ll be considered

19   //

20   II
21

22

23
24

25

26
27

28
                                         25
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 26 of Page
                                                               29 Page
                                                                    27 ofID30#:44
                                                                                Page
                                  ID #:8555




        1   part of the record of defendant's guilty ple.a hearing as if the
        2    entire agreement had been read into the record of the proceeding.
        3     AGREED ~~D ACCEPTED
        4     ON:IT~D STAT$S ATTOENEY'S OFFICE
              FOR THE CENTRAL DISTRIC'l' OF
     5        CALIFORNIA
        6

     7

     8
              RUTH C .   INKEL '
     9        Assistant United States Attorney
   10        )<          7~/J~                              Date
    11

   12
   13         JOEL C,,.•· K O t i R Y ~-- ..                Date
              Attor~~y for Defendant
   14         THOMAS SHEPOS
   15
   16                                 CERTI~ICATION OF DEFENDANT
   17             I have read this agreement in its entirety .     I have had enough
   18       time to review and consider this agreement, and I have carefully and
   19       thoroughly discussed every part of it with my attorney.       I understand
   20       the terms of this agreement, and I voluntarily agree to those terms .
   21       I have discussed the evidence with my attorney, and my attorney has
   22       advised me of my rights, of possible pretrial motions that might be
   23       filed, of possible defenses t hat might be asserted either prior to or
   24       at trial, of the sentencing factors set forth in 18 U. S . C. § 3·5 53('a),
   25       of relevant Sentencing Guidelines provisions, and of the conseqUences
   26       of entering into this agreement.      No promises, inducements, or
   27       representations of any kind have been made to me other than those
   28       contained in this agreement.       No one has threatened or forced me in
                                                 26
Case
   Case
     2:19-cv-01773-JFW-MAA
        2:18-cr-00569-GW Document
                            Document
                                  9 Filed
                                      535-1
                                          09/05/18
                                              Filed 11/22/24
                                                    Page 27 of Page
                                                               29 Page
                                                                    28 ofID30#:45
                                                                                Page
                                  ID #:8556




    1   any way to enter into this agreement .            I am satisfied with the

    2   representation of my attorney in this matter , and I am pleading

    3   guilty because I am guilty of the charges and wish to take advantage

    4   of the promises set forth in this agreement, and not for any other

    5   reason .

    6

    7     TliOMAS SHEPOS                                    Date
          Defendant
    8

    9

  10
                                  CERTIFICATION OF DEFENDANT ' S ATTORNEY
  11
             I am defendant THOMAS SHEPOS' s attorney .             I have carefully and
  12
        thoroughly discussed every part of this agreement with my client .
  13
        Further, I have fully advised my client of his rights , of possible
  14
        pretrial motions that might be filed, of possible defenses that might
  15
        be asserted either prior to or at trial , of the sentencing factors
  16
        set forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
  17
        provisions, and of the consequences of entering into this agreement .
  18
        To my knowledge : no promises, inducements , or representations of any
  19
        kind have been made to my client other than those contained in this
  20
        agreement; no one has threatened or forced my client in any way to
  21
        enter into this agreement ; my client's decision to enter into this
  22
        agreement is an informed and voluntary one; and the factual basis set
  23
        forth in this agreement is sufficient to support my client's entry of
  24
        guilty pleas pursuant to this agreement .
  25               ··········-7
  26

  27
         J6mr:~~~{'L _.
         Attorney for Defendant
                                                             Date
         THOMAS SHEPOS
  28
                                                  27
 Case
    Case
      2:19-cv-01773-JFW-MAA
         2:18-cr-00569-GW Document
                             Document
                                   9 Filed
                                       535-1
                                           09/05/18
                                               Filed 11/22/24
                                                     Page 28 of Page
                                                                29 Page
                                                                     29 ofID30#:46
                                                                                 Page
                                   ID #:8557



 1                              CERTIFICATE OF SERVICE

 2        I, Sandy Ear, declare:

 3        That I am a citizen of the United States and a resident of or

 4   employed in Los Angeles County, California; that my business address
 5   is the Office of United States Attorney, 312 North Spring Street,

 6   Los Angeles, California 90012; that I am over the age of 18; and

 7   that I _ am not a party to the above-titled action;
 8        That I am employed by the United States Attorney for the

 9   Central District of California, who is a member of the Bar of the

10   United States District Court for the Central District of California,

11   at whose direction the service by mail described in this Certificate

12   was made; that on September 5, 2018, I deposited in the United

13   States mail at the United States Courthouse in the above-titled

14   action, in an envelope bearing the requisite postage, a copy of:

15   Plea Agreement for defendant Thomas M. Shepos

16   service was:

17    D Placed in a closed envelope           IZI Placed in a sealed envelope
        for collection and inter-                 for collection and mailing via
18      off~ce delivery, addressed as             United States mail, addressed
        follows:                                  as follows:
19
      D By hand delivery, addressed as D By facsimile, as follows :
20      follows:

21   D By messenger, as follows:              D By Federal Express, as
                                                 follows:
22
23   Joel C. Koury
     34 3 5 Ocean Park Blvd., Suite 107-50
24   Santa Monica, CA 90405

25   at his last known address, at which place there is a delivery

26   service by United States mail.
27

28
 Case
    Case
      2:19-cv-01773-JFW-MAA
         2:18-cr-00569-GW Document
                             Document
                                   9 Filed
                                       535-1
                                           09/05/18
                                               Filed 11/22/24
                                                     Page 29 of Page
                                                                29 Page
                                                                     30 ofID30#:47
                                                                                 Page
                                   ID #:8558



     1        This Certificate is executed on September 5, 2018 , at Los

     2   Angeles, California.   I certify under penalty of perjury that the
 3       foregoing is true and correct .

 4

 5

 6
                                                S   DY   R
 7                                              Legal Assistant

 8

 9

10
11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                            2
